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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiffs,                                   4:16CR3039
    vs.
                                                               ORDER
RAHMAN M. NABAVI and
ISABEL M. MALLAR,
                Defendants.



    IT IS ORDERED:

    1)    Defendants’ motions to continue, (filing nos. 35 and 36), are granted.

    2)    Part 1 of the evidentiary hearing on defendants’ motions to suppress, (filing
          nos. 24 and 25), will be held before the undersigned magistrate judge on
          October 19, 2016 at 3:00 p.m. in Courtroom #2, United States Courthouse,
          Lincoln, Nebraska. Two hours have been set aside for this hearing.

    3)    Part 2 of the evidentiary hearing on defendants’ motions to suppress, will
          be held before the undersigned magistrate judge on November 3, 2016 at
          9:00 a.m. in Courtroom #2, United States Courthouse, Lincoln, Nebraska.
          Three hours have been set aside for this hearing.

    September 9, 2016.
                                             BY THE COURT:
                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
